The petition for a writ of habeas corpus does not sufficiently show the existence of facts entitling the petitioner to be discharged. It is not made to appear therein that the petitioner was not lawfully deprived by the board of prison directors of the credits to which he would be entitled for good conduct under section 1588 of the Penal Code, and if he has been so deprived, his term has not expired. It is incumbent on one seeking his discharge on habeas corpus from the state prison to specifically show by proper allegation offacts his right to a discharge. The law governing the matter expressly provides that if the imprisonment is alleged to be illegal, the petitioner for a writ must state "in what the alleged illegality consists" (Pen. Code, sec. 1474). This, in our judgment, the petitioner has not sufficiently done.
The application for a writ is denied without prejudice to the making of a further application. *Page 553 